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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                            HELENA DIVISION

 UNITED STATES OF AMERICA,                             CR 16–05–H–DLC–2

                      Plaintiff,
                                                              ORDER
        vs.

 CORDERO ROBERT METZKER,

                      Defendant.

      United States Magistrate Judge Jeremiah C. Lynch entered Findings and

Recommendation in this matter on July 19, 2016. Neither party objected and

therefore they are not entitled to de novo review of the record. 28 U.S.C. §

636(b)(1); United States v. Reyna-Tapia, 328 F.3d 1114, 1121 (9th Cir. 2003).

This Court will review the Findings and Recommendation for clear error.

McDonnell Douglas Corp. v. Commodore Bus. Mach., Inc., 656 F.2d 1309, 1313

(9th Cir. 1981). Clear error exists if the Court is left with a “definite and firm

conviction that a mistake has been committed.” United States v. Syrax, 235 F.3d

422, 427 (9th Cir. 2000).

      Judge Lynch recommended this Court accept Cordero Robert Metzker’s

guilty plea after Metzker appeared before him pursuant to Federal Rule of

Criminal Procedure 11, and entered a plea of guilty to one count of conspiring to

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possess with the intent to distribute methamphetamine in violation of 21 U.S.C. §§

841(a)(1) and 846 as set forth in Count I of the Superseding Indictment. In

exchange for Defendant’s plea, the United States has agreed to dismiss Counts II

through IV of the Superseding Indictment.

      I find no clear error in Judge Lynch’s Findings and Recommendation (Doc.

105), and I adopt them in full, including the recommendation to defer acceptance

of the Plea Agreement until sentencing when the Court will have reviewed the

Plea Agreement and Presentence Investigation Report.

      Accordingly, IT IS ORDERED that Cordero Robert Metzker’s motion to

change plea (Doc. 64) is GRANTED and Cordero Robert Metzker is adjudged

guilty as charged in Count I of the Superseding Indictment.

      DATED this 5th day of August, 2016.




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